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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                                        Chapter 11

 SCUNGIO BORST & ASSOCIATES, LLC,                              Case No. 22-10609 (AMC)

                                           Debtor


                          NOTICE OF MOTION, RESPONSE DEADLINE
                                   AND HEARING DATE

       KPG-MCG Curtis Tenant, LLC has filed a Motion for an Order Modifying the Automatic
Stay Under 11 U.S.C. § 362(d) to Permit the Continuation of Certain Pre-Petition Litigation for
the Limited Purpose of Liquidating Claims and a Waiver of the Fourteen Day Stay of Such Order
Under Federal Rule of Bankruptcy Procedure 4001(a)(3).

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult an attorney.)

        1.       If you do not want the court to grant the relief sought in the motion or if you want
the court to consider your views on the motion, then on or before fourteen (14) days from the date
of this notice, you or your attorney must do all of the following:

                   (a) file an answer explaining your position at

                                     United States Bankruptcy Court
                                      900 Market Street, Suite 400
                                         Philadelphia, PA 19107

If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early enough
so that it will be received on or before the date stated above; and

                   (b) mail a copy to the movant’s attorney:

                                   Corinne Samler Brennan, Esquire
                                 Klehr Harrison Harvey Branzburg LLP
                                    1835 Market Street, Suite 1400
                                        Philadelphia, PA 19103
                                          T: (215) 569-3393
                                          F: (215) 569-6603




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       2.     If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the court may enter an order granting the relief requested in the
motion.

        3.     A hearing on the motion is scheduled to be held before the Honorable Ashely M.
Chan on May 25, 2022 at 12:30 p.m. in Courtroom 4, United States Bankruptcy Court, 900 Market
Street, Philadelphia, PA 19107. Unless the court orders otherwise, the hearing on this contested
matter will be an evidentiary hearing at which witnesses may testify with respect to disputed
material factual issues in the manner directed by Fed. R. Bankr. P. 9014(d).

        4.     If a copy of the motion is not enclosed, a copy of the motion will be provided to
you if you request a copy from the attorney named in paragraph 1(b).

      5.      You may contact the Bankruptcy Clerk’s Office at 215-408-2800 to find out
whether the hearing has been canceled because no one filed an answer.

Date: April 29, 2022




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